                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

   LEWIS COSBY, KENNETH MARTIN, as                     )
   beneficiary of the Kenneth Ray Martin Roth IRA,     )
   and MARTIN WEAKLEY on behalf of                     )
                                                       )
   themselves and all others similarly situated,       )
                                                       )
                                 Plaintiffs,           )
                                                       )
                  v.                                   ) No.: 3:16-cv-00121-TAV-DCP
                                                       )
   KPMG, LLP                                           )
                                                       )
                                 Defendant.            )
                                                       )
                                                       )
                                                       )


        PLAINTIFFS’ LIMITED OBJECTION TO MAGISTRATE JUDGE’S ORDER
       GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION TO
          EXCLUDE THE REPORTS AND TESTIMONY OF CHAD COFFMAN

          Court-appointed Class Representatives, Lewis Cosby, Eric Montague, and Martin

   Ziesman, as Co-Trustee for the Carolyn K. Ziesman Revocable Trust (hereinafter, “Plaintiffs”),

   through their undersigned attorneys, respectfully submit this Memorandum of Law in Support of

   their Limited Objection to Magistrate Judge Debra C. Poplin’s Memorandum and Order (the

   “Order”), Granting In Part and Denying In Part Defendant’s Motion to Exclude the Reports and

   Testimony of Chad Coffman (the “Motion to Exclude”), ECF No. 171.

                RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

          On March 15, 2019, in accordance with the Court’s February 15, 2019 Modified

   Scheduling Order, ECF No. 96 at 3-4, Plaintiffs filed their Motion to Certify the Classes, Appoint

   Class Representatives, and Appoint Class Counsel (“Motion to Certify”), ECF No. 107, and in

   support, filed the initial Expert Report of Chad Coffman, CFA (“Initial Coffman Report”), ECF

   No. 107-2. During Defendant’s first deposition of Mr. Coffman on April 12, 2019, Mr. Coffman

                                                   1

Case 3:16-cv-00121-TAV-DCP Document 177 Filed 07/27/20 Page 1 of 8 PageID #: 17901
   indicated that he needed to revise certain areas of his initial report. See ECF No. 138-1.

   Accordingly, Plaintiffs’ and Defendant’s counsel conferred on a revised schedule for Mr. Coffman

   to file a corrected opening expert report and his availability to sit for a second deposition on that

   corrected opening report. See ECF No. 120 at 1. Based in part on these discussions, on April 16,

   2019, Defendant filed an Emergency Motion to Extend Class Certification Dates, ECF No. 120.

   On April 19, 2019, the Court issued an Agreed Order Regarding Extension of Class Certification

   Dates (“Scheduling Order”), ECF No. 122, setting, among other things, an April 19, 2019 deadline

   for the filing of “Plaintiffs’ (revised) expert report in support of their motion for class certification,”

   as well as an April 25, 2019 deadline for the deposition of Plaintiffs’ expert regarding the

   modifications to his initial report. ECF No. 122 at 1-2.

           The same day, in accordance with the Scheduling Order, Plaintiffs filed Mr. Coffman’s

   corrected opening expert report (“Corrected Coffman Report”), ECF No. 121. In it, Mr. Coffman

   provided an opinion on price impact, explaining that he performed “additional analysis of the

   movements of Miller Energy’s Common Stock to information concerning the original reporting of

   Miller Energy’s FY 2011 financial performance which would have subsumed and provided

   information about earnings in Q4 2011 prior to August 30, 2011.” ECF No. 121 at 4-10, ¶ vi. On

   April 25, 2019, Defendant then deposed Mr. Coffman for a second time, and Defendant’s counsel

   specifically questioned Mr. Coffman regarding his price-impact opinion. See ECF No. 138-2 at

   345:23-347:4.

           On May 21, 2019, Defendant filed its Motion to Exclude the Reports and Testimony of

   Chad Coffman, ECF No. 126, asserting that Mr. Coffman’s reports and testimony were

   “unscientific and unreliable.” ECF No. 127 at 11-12. Despite the Court’s Scheduling Order

   permitting Mr. Coffman to file a new opening report and be deposed for a second time on that


                                                       2

Case 3:16-cv-00121-TAV-DCP Document 177 Filed 07/27/20 Page 2 of 8 PageID #: 17902
   report, Defendant also argued in a single, passing sentence – without any legal support – that the

   Court should exclude Mr. Coffman’s price impact opinion, “because it was not included in his

   original report, but was added in his ‘corrected’ report in response to questions asked of him at the

   first day of his deposition.’” ECF No. 127 at 11.1

          On June 29, 2020, concurrently with her Report & Recommendation that Plaintiffs’ Motion

   to Certify be granted (“R&R”), ECF No. 172, Magistrate Judge Poplin issued a Memorandum and

   Order rejecting Defendant’s arguments that Mr. Coffman’s reports and testimony were unscientific

   or unreliable, and finding that they should not be excluded on that basis. See Order at 10-33.

   However, Magistrate Judge Poplin held that Mr. Coffman’s opinion on price impact should be

   excluded, but not because it was unscientific or unreliable. Instead, Magistrate Judge Poplin ruled

   that Mr. Coffman’s price impact opinion should be “stricken” under Rule 26(e)(2) of the Federal

   Rules of Civil Procedure, because “it was not part of Coffman's Initial Report” and Plaintiffs did

   “not respond to Defendant’s argument” that the opinion be excluded on that basis. Order at 19; see

   also R&R at 49 n.11.

                                         LEGAL STANDARD

          Under 28 U.S.C. § 636(b)(1)(A) and Federal Rule of Civil Procedure 72(a), a district court

   must “modify or set aside” a Magistrate Judge's non-dispositive pretrial order if it is “clearly

   erroneous or contrary to law.” 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a). “This standard

   requires the District Court to review findings of fact for clear error and to review matters of law

   de novo.” Bisig v. Time Warner Cable, Inc., 940 F.3d 205, 219 (6th Cir. 2019) (quoting EEOC v.



   1
     Defendant’s single case citation was for the unremarkable, and in this case, irrelevant proposition
   that “courts should not permit experts to ‘testify as to a wholly new, previously unexpressed
   opinion.’” ECF No. 127 at 11 (citing In re Whirlpool Corp. Front–Loading Washer Products Liab.
   Litig., 45 F. Supp. 3d 724, 760 (N.D. Ohio 2014)).

                                                    3

Case 3:16-cv-00121-TAV-DCP Document 177 Filed 07/27/20 Page 3 of 8 PageID #: 17903
   City of Long Branch, 866 F.3d 93, 99 (3d Cir. 2017)). “A finding of fact is ‘clearly erroneous’

   when the reviewing court is ‘left with the definite and firm conviction that a mistake has been

   committed.’” Clabo v. Johnson & Johnson Health Care Sys., Inc., No.3:19-cv-154, 2020 WL

   60244, at *2 (E.D. Tenn. Jan. 6, 2020) (quoting Hagaman v. Comm'r of Internal Revenue, 958

   F.2d 684, 690 (6th Cir. 1992)). “A decision is contrary to law ‘if the magistrate has misinterpreted

   or misapplied applicable law.’” Walter v. Auto-Owners Mut. Ins. Co., 3:15-CV-535-TAV-DCP,

   2018 WL 4102244, at *1 (E.D. Tenn. Aug. 28, 2018) (Varlan, J.) (citation omitted).

                                             ARGUMENT

          Defendant had no good-faith basis to assert that Mr. Coffman’s price impact opinion should

   be excluded because it was not included in its initial opening report2—indeed, Defendants did not

   even specifically move on this basis3—and Magistrate Judge Poplin’s limited ruling to that effect

   was erroneous and contrary to law.4

          First, Mr. Coffman’s price-impact opinion was in accordance with Rules 26(a) and (e) and

   cannot be qualified as a “new opinion.” Rule 26(a)(2)(D) makes clear that the timing and the



   2
     Aside from mentioning the language of Rule 26(e)(2), Magistrate Judge Poplin did not cite Rule
   37(c)(1) or otherwise explain the basis for striking Mr. Coffman’s price-impact opinion, but it is
   the only possible grounds for doing so. See Fed. R. Civ. P. 37(c)(1) (providing that “[i]f a party
   fails to provide information or identify a witness as required by Rule 26(a) or (e), the party is not
   allowed to use that information or witness to supply evidence on a motion, at a hearing, or at a
   trial, unless the failure was substantially justified or is harmless”).
   3
    Defendant’s sole basis for its Motion to Exclude was that Mr. Coffman’s reports and testimony
   should be excluded as “unreliable” under Federal Rule of Evidence 702. See ECF No. 126.
   Plaintiffs thus had no reason to “respond” to Defendant’s one-sentence argument that the price-
   impact opinion should be excluded on other grounds.
   4
     Although the exclusion of this limited portion of Coffman’s report and testimony was, correctly,
   irrelevant to Magistrate Judge Poplin’s related Report and Recommendation that Plaintiffs’ Motion
   to Certify be granted, see ECF No. 172, to the extent Defendant objects to Magistrate Judge
   Poplin’s Report and Recommendation, or later elects to file a petition under Rule 23(f) of the
   Federal Rules of Civil Procedure, Plaintiff files this objection.
                                                     4

Case 3:16-cv-00121-TAV-DCP Document 177 Filed 07/27/20 Page 4 of 8 PageID #: 17904
   sequence of all mandatory expert disclosures are left to the Court’s discretion. Fed. R. Civ. P.

   26(a)(2)(D) (“A party must make these disclosures at the times and in the sequence that the court

   orders”). Here, the parties “stipulated” and the Court “ordered” that “Plaintiffs’ (revised) expert

   report in support of their motion for class certification” was due April 19, 2019. ECF No. 122.

   And the Court did not limit or otherwise restrict the scope of Mr. Coffman’s revisions, nor did

   Defendant request in their Emergency Motion that any such limitations be imposed. See ECF No.

   120. Rule 26 thus provides no basis to exclude any opinions included in Mr. Coffman’s timely

   filed opening corrected report, particularly given that Defendant had the opportunity to, and in fact

   did, both depose Mr. Coffman on those opinions and challenge the same with their own expert

   report and briefing. See Deere & Co. v. FIMCO Inc., 260 F. Supp. 3d 830, 837 (W.D. Ky. 2017)

   (explaining that “the only limitation that [] Rule [26(e)(2)] imposes is that supplemental

   disclosures must be made by the deadline for pretrial disclosures”); S. Electric Supply Co., Inc. v.

   Lienguard, Inc., 05-CV-442, 2007 WL 2156658, at *3 (S.D. Ohio July 25, 2007) (“The submission

   of a supplemental expert report in rebuttal to an opponent’s expert report is not prejudicial as long

   as the supplementing expert is available to be deposed.”).

          Furthermore, the Sixth Circuit has explained that Rule 26 contemplates that an expert may

   “supplement, elaborate upon, [and] explain” his expert report. Thompson v. Doane Pet Care

   Co., 470 F.3d 1201, 1203 (6th Cir. 2006). While Rule 26(e)(2) “places limits on supplementation

   by an expert, and supplementation may not be used for strategic advantage” or “gamesmanship”

   (Jermano v. Graco Children's Products, Inc., 13-CV-10610, 2015 WL 1737548, at *4 (E.D. Mich.

   Apr. 16, 2015)), this limitation extends only to abuses of the supplementation process, such as

   where parties seek “to introduce entirely new expert opinions that could have been provided prior

   to the expert's report and deposition.” Id. (emphasis added). Nothing of that sort is present here.


                                                    5

Case 3:16-cv-00121-TAV-DCP Document 177 Filed 07/27/20 Page 5 of 8 PageID #: 17905
           Second, even if Mr. Coffman’s price-impact opinion were not otherwise permitted under

   the Court’s Scheduling Order, it still would not run afoul of Rule 26(a)(2)(D), because the price-

   impact opinion was “intended ‘solely’ to contradict or rebut ‘evidence on the same subject matter

   identified by another party.’” See Campos v. MTD Prods., Inc., No.2:07-cv-00029,2009 WL

   2252257, at *9 (M.D. Tenn. July 24, 2009) (explaining that a rebuttal report may “rebut theories

   set forth in an expert report and/or forthcoming opinion testimony to be presented by an opposing

   party”). After all, the burden was on Defendant, not Plaintiffs, to demonstrate a lack of price

   impact in order to rebut the presumption of reliance with “evidence that the asserted

   misrepresentation (or its correction) did not affect the market price of the defendant’s stock.” In

   re: BancorpSouth, Inc., No.17-0508, 2017 WL 4125647, at *1 (6th Cir. Sept. 18, 2017) (quoting

   Halliburton Co. v. Erica P. John Fund, Inc. (“Halliburton II”), 134 S.Ct. 2398, 2414 (2014)); see

   also R&R at 46-47 (explaining that the burden is on Defendants to rebut the presumption of

   reliance).5

           Plaintiffs did not know that Defendants would seek to rebut the presumption of reliance by

   arguing that there was no price impact in response to the alleged false and misleading statements

   until Defendant’s counsel inquired into the matter during Mr. Coffman’s first deposition. Further,

   Mr. Coffman included his price impact opinion in his Rebuttal Report filed on June 14, 2019. See




   5
     As Magistrate Judge Poplin correctly held, Defendant failed to meet this burden. R&R at 50-51.
   Specifically, Magistrate Judge Poplin found that Defendant failed to demonstrate that (1) the
   statistically significant price declines following 14 of the alleged corrective events were not the
   result of the disclosure of information relevant to the alleged fraud; and (2) evidence that Montague
   “purchased stock after only four disclosures does not show that he was aware that the price that he
   purchased such stock was tainted by fraud.” R&R at 50-51. Further, as Coffman demonstrated in
   both his Corrected Report and Rebuttal Report and Defendants’ own expert conceded, Miller
   Energy’s stock price jumped nearly 60% in response to Defendant’s first alleged materially false
   and misleading audit opinion, further demonstrating price impact. See ECF No. 141 at 12.

                                                    6

Case 3:16-cv-00121-TAV-DCP Document 177 Filed 07/27/20 Page 6 of 8 PageID #: 17906
   ECF No. 142-1 at 38-39. It would stand Rule 26 on its head to hold that a timely expert’s opinion

   should be excluded as “improper supplementation” where that very same opinion was

   appropriately included in a later-filed rebuttal report. See Moore v. Weinstein Co., LLC, No. 3:09-

   cv-00166,2012 WL 1884758, at *13 (M.D. Tenn. May 23, 2012), aff'd, 545 Fed. Appx. 405 (6th

   Cir. 2013) (holding plaintiffs’ late-filed expert report substantially justified because it was

   “directed specifically to rebutting” arguments “not previously disclosed to the plaintiffs”).6

          Third, even if Mr. Coffman’s price impact opinion failed to comply with Rules 26(a) or

   (e)—and it did not—such failure was both “substantially justified” and “harmless.” Roberts ex rel.

   Johnson v. Galen of Va. , Inc., 325 F.3d 776, 783 (6th Cir. 2003) (explaining that exclusion under

   Rule 37(c)(1) for noncompliance with Rules 26(a) or (e) is improper if the violation is

   “substantially justified or harmless”). After all, the Court’s Scheduling Order expressly permitted

   Plaintiffs to file Mr. Coffman’s corrected opening report. See Borg v. Chase Manhattan Bank

   USA, N.A., 247 Fed. Appx. 627, 637 (6th Cir. 2007) (suggesting that plaintiffs’ untimely expert

   report would have been substantially justified had plaintiffs sought an extension of the deadline

   from the court). And any failure was also certainly harmless, given that Coffman’s Corrected

   Report was filed in advance of Defendants’ second deposition of Coffman on April 25, 2019, and

   during the course of that deposition, Defendants had the opportunity to and, in fact, did, question

   Coffman regarding his price impact opinion, as well as respond to that opinion with their own

   expert’s reports. See Lower Town Project, LLC v. Lawyers Title Ins. Corp., No.10-11615, 2012

   WL 666574, at *2 (E.D. Mich. Feb. 29, 2012) (holding any failure to supplement expert’s




   6
     Notably, Defendant did not argue, and Magistrate Judge Poplin did not rule, that Mr. Coffman’s
   price-impact opinion should also be stricken from Mr. Coffman’s rebuttal report. See ECF No. 127
   at 11; ECF No. 159 at 10. Accordingly, for that independent reason, Mr. Coffman’s price impact
   position should remain in the case.
                                                   7

Case 3:16-cv-00121-TAV-DCP Document 177 Filed 07/27/20 Page 7 of 8 PageID #: 17907
   discovery responses was harmless where Defendants knew that Plaintiffs intended to call witness

   and had the opportunity to depose the witness during discovery); Smith v. Pfizer Inc., 265 F.R.D.

   278, 283 (M.D. Tenn. 2010) (explaining that “the harmlessness analysis turns on the defendants'

   knowledge of the witnesses” and “[t]here is no duty to supplement a Rule 26 disclosure if the

   information “has been otherwise made known to the parties in writing or during the discovery

   process, as when a witness not previously disclosed is identified during the taking of a

   deposition.”); Moore, 2012 WL 1884758, at *13 (plaintiffs’ late-filed expert report harmless where

   “the defendants would still have an opportunity to respond to [the expert’s] opinions”).

                                            CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court set aside the limited

   portion of the Magistrate Judge’s Order striking Chad Coffman’s expert opinion on price impact.




                                                    8

Case 3:16-cv-00121-TAV-DCP Document 177 Filed 07/27/20 Page 8 of 8 PageID #: 17908
